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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


                                 Case No.     21-20263-CR-DIMITROULEAS



  UNITED STATES OF AMERICA

  v.

  GARY TUCKER,
                          Defendant. /


                                 JOINT FACTUAL STATEMENT


          If this matter were to proceed to trial, the United States of America the defendant, GARY

  TUCKER, agree that by photographs, documentary evidence, and the testimony of witnesses, the

  United States would establish the following beyond a reasonable doubt:

       1. Title 18, United States Code, Section 1001(a)(2), prohibits anyone, in a matter within

          the jurisdiction of an agency of the executive branch of the Government of the United

          States, from knowingly and willfully making a materially false, fictitious, and

          fraudulent statement and representation to that agency or its representatives.

       2. On July 11, 2019, the Defendant voluntarily participated in an interview being conducted,

          in part, by Special Agents of the United States Fish & Wildlife Service (USFWS), an

          agency within the U.S. Department of the Interior.

       3. The interview was conducted in Washington, D.C., ih connection with an on-going

          criminal investigation being handled in the Miami Division of the· Southern District of
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         Florida.

     4. In the course of the July 11, 2019 interview, the Defendant was asked about his

         involvement in the procurement of long-tailed macaques [a small non-human primate

        regularly employed in scientific research to develop, among other things, pharmaceuticals

        in the United States and abroad] from Southeast Asia. He responded to specific questions

        by the Special Agents regarding audits and site visits by he and other employees of Orient

        BioResource Center (OBRC) to supplier sites in Cambodia. The agents specifically asked

        the Defendant if any audit reports or site visit reports of any description were prepared and

        submitted to OBRC. Defendant responded to these questions in the negative, that is, that

        no supplier site visits were memorialized in any written audit reports to OBRC.

     5. The existence of site visit reports, or audits, was material to the on-going investigation into

        the possible international trafficking to the United States of the non-human primates, whose

        possession, sale, export and import is highly regulated by the international community and

        the United States under the Convention on International Trade in Endangered Species of

        Wild Fauna and Flora (CITES), to which the United States,is a party, and the U.S.

        Endangered Species Act, Title 16, United States Code, Section 1538, et seq. Pursuant to

        the Endangered Species Act, the USFWS is the agency tasked by Congress to administer

        and enforce the provisions of CITES.

     6. In fact, as Defendant then well knew, preparation and submission of site visit reports was

        a standard procedure at OBRC.
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                                                             Conclusion

          Based upon the foregoing, the United States and the Defendant respectfully submit that a

  reasonable jury would find that GARY TUCKER is guilty beyond a reasonable doubt of

  knowingly and willfully making a materially false, fictitious, and fraudulent statement and

  representation, by stating to Special Agents of the USFWS that foreign supplier site visits were

  not memorialized in written audit reports, when in truth and in fact, as then well known to him,

  preparation and submission of site visit reports was a standard procedure at his employer, OBRC,

  in violation of Title 18, United States Code, Sections 1001(a)(2), as charged in the single count

  of the Information in this case.

                                                 Respectfully submitted,


                                                 ANTONIO JUAN GONZALEZ
                                                  CTING UNITED STATES ATTORNEY


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          Reviewed and agreed to:



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